Case 2:23-cv-01043-JWH-KES     Document 193     Filed 12/08/23   Page 1 of 25 Page ID
                                     #:6679


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                           UNITED STATES DISTRICT COURT
  10
                         CENTRAL DISTRICT OF CALIFORNIA
  11

  12

  13   ENTROPIC COMMUNICATIONS, LLC, Case No.: 2:23-cv-01043-JWH-KES
                                     (Lead Case)
  14        Plaintiff,               Case No.: 2:23-cv-01047-JWH-KES
  15                                 (Related Case)
            v.
                                     Case No.: 2:23-cv-01048-JWH-KES
  16
       DISH NETWORK CORPORATION, et  (Related Case)
  17   al.,                          Case No.: 2:23-cv-05253-JWH-KES
            Defendants.              (Related Case)
  18

  19
                                         PLAINTIFF ENTROPIC
  20   ENTROPIC COMMUNICATIONS, LLC, COMMUNICATIONS, LLC’S
  21               Plaintiff,            NOTICE OF MOTION AND
                                         MOTION FOR LEAVE TO
  22       v.                            SUPPLEMENT COMPLAINT;
  23   COX COMMUNICATIONS, INC., et al., MEMORANDUM OF POINTS AND
                                         AUTHORITIES IN SUPPORT
  24               Defendants.           THEREOF; DECLARATION OF
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         NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES     Document 193   Filed 12/08/23   Page 2 of 25 Page ID
                                     #:6680


   1
       ENTROPIC COMMUNICATIONS, LLC, CASSIDY YOUNG IN SUPPORT
   2                                 THEREOF; [PROPOSED] ORDER
                   Plaintiff,
   3
            v.                                   DEMAND FOR JURY TRIAL
   4
       COMCAST CORPORATION, et al.,
   5
                        Defendants.
   6

   7
       ENTROPIC COMMUNICATIONS, LLC,

   8
                        Plaintiff,

   9
            v.

  10
       DIRECTV, LLC, et al.,

  11                    Defendants.
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            NOTICE OF MOTION AND MOTION FOR LEAVE TO AMEND
Case 2:23-cv-01043-JWH-KES       Document 193      Filed 12/08/23   Page 3 of 25 Page ID
                                       #:6681


   1         TO DEFENDANTS AND THEIR ATTORNEYS OF RECORD:
   2         PLEASE TAKE NOTICE THAT on January 5, 2024, or as soon thereafter
   3   as this matter may be heard, in Courtroom 9D of the United States District Court for
   4   the Central District of California, located at 411 W. 4th Street, Santa Ana, California
   5   92701, Plaintiff Entropic Communications, LLC (“Entropic”) will, and hereby does,
   6   move the Court for leave to supplement its complaint against Defendants Comcast
   7   Corporation, Comcast Cable Communications, LLC, and Comcast Cable
   8   Communications Management, LLC (collectively, “Comcast”). This Motion is made
   9   pursuant to Rule 15(d) of the FEDERAL RULES OF CIVIL PROCEDURE, on the grounds
  10   that good cause exists to grant Entropic leave to supplement to rely on conduct that
  11   occurred after the filing of the complaints in this action to further support its
  12   allegations of willful infringement of the asserted patents. Comcast cannot establish
  13   that any of the Foman factors justify denial of the Motion, as detailed further in the
  14   accompanying memorandum of points and authorities.
  15         Comcast previously moved to dismissed Entropic’s First Amended Complaint
  16   in its entirety under Rule 12(b)(1) and as to willful infringement under Rule 12(b)(6).
  17   In opposition, Entropic requested, inter alia, leave to file a supplemental pleading
  18   based on conduct that occurred after the filing of the complaints. In its Order granting
  19   Comcast’s motion with leave to amend, the Court did not specifically grant or deny
  20   the request to supplement. Thus, Entropic is filing this motion out of an abundance
  21   of caution to the extent that supplementation did not fall within the scope of the
  22   Order. Entropic has attached to the concurrently-filed supporting declaration a
  23   separate proposed supplemental pleading containing allegations regarding conduct
  24   that occurred after the filing of the complaints in this action.
  25         This Motion is made following a conference of counsel pursuant to Local Rule
  26   7-3 that took place on December 1, 2023. The Parties discussed the substance and
  27   potential resolution of the filed Motion via telephone.
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                                  i
         NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES     Document 193     Filed 12/08/23   Page 4 of 25 Page ID
                                     #:6682


   1         The Motion is based on this Notice, the Memorandum of Points and
   2   Authorities attached hereto, the Declaration of Cassidy Young, the proposed
   3   supplemental pleading, the initial, First Amended, and Second Amended Complaints,
   4   the complete Court files and records in this action, and all matters that may be
   5   properly considered by the Court at the hearing on this Motion.
   6   Dated: December 8, 2023                K&L GATES LLP
   7
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                                  ii
         NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES   Document 193     Filed 12/08/23   Page 5 of 25 Page ID
                                   #:6683


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                                 iii
        NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES              Document 193               Filed 12/08/23            Page 6 of 25 Page ID
                                              #:6684


   1                                          TABLE OF CONTENTS
   2

   3   I.     INTRODUCTION .......................................................................................... 1
   4   II.    FACTUAL AND PROCEDURAL BACKGROUND ................................. 1
   5   III.   LEGAL STANDARD ..................................................................................... 4
   6   IV.    ARGUMENT .................................................................................................. 7
   7          A.       Good cause exists to allow Entropic to Supplement. ........................ 8
   8                   1.       There has been no undue delay or bad faith on the part of
                                Entropic. ..................................................................................... 8
   9
                       2.       Entropic has not failed to cure deficiencies through
  10                            “repeated failure of previous amendments” or supplements.
                                ..................................................................................................... 9
  11
                       3.       Comcast would not be unduly prejudiced by allowing
  12                            supplementation. ........................................................................ 9
  13                   4.       Supplementation would not be futile. .................................... 10
  14                            a.        Entropic’s Willfulness Allegations and VSA
                                          Termination Allegations Enable Entropic to Address
  15                                      Comcast’s Infringement. .............................................. 12
  16                            b.        Supplementation Can Cure Any Jurisdictional Defects
                                          in Entropic’s Complaint. .............................................. 13
  17
       V.     CONCLUSION ............................................................................................. 14
  18

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  26

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  28

                                     iv
            NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES                  Document 193             Filed 12/08/23           Page 7 of 25 Page ID
                                                  #:6685


   1                                              TABLE OF AUTHORITIES
   2                                                                                                                     Page(s)
   3
       Cases
   4
       Apple Inc. v. Samsung Elecs. Co., Ltd.,
   5     258 F. Sup. 3d 1013, 1027 (N.D. Cal. 2017) ..................................................... 12
   6
       Aten Int’l Co., Ltd v. Emine Tech. Co.,
   7      2010 WL 1462110 (C.D. Cal. Apr. 12, 2010) .................................................... 10
   8   Billjco, LLC v. Apple Inc.,
   9      583 F. 3d 769 (W.D. Tex. 2022) ........................................................................ 11
  10   Bowles v. Reade,
  11
         198 F.3d 752 (9th Cir. 1999) ................................................................................ 8

  12   Cabrera v. City of Huntington Park,
         159 F.3d 374 (9th Cir. 1998) ................................................................................ 7
  13

  14   DCD Programs, Ltd. v. Leighton,
         833 F.2d 183 (9th Cir. 1987) ................................................................................ 9
  15
       Eminence Cap., LLC v. Aspeon, Inc.,
  16
         316 F.3d 1048 (9th Cir. 2003) .............................................................................. 5
  17
       Fluidigm Corp. v. Ionpath, Inc.,
  18      No. 19-cv-5639-WHA, 2020 WL 1433178 (N.D. Cal. Mar. 24,
  19      2020) ............................................................................................................. 11, 12

  20   Foman v. Davis,
         371 U.S. 178 (1962) ....................................................................................... 5, 12
  21

  22   Glaukos Corp. v. Ivantis, Inc.,
          2019 WL 8348322 (C.D. Cal. May 20, 2019).................................................... 10
  23
       Griggs v. Pace Am. Grp., Inc.,
  24
          170 F.3d 877 (9th Cir. 1999) ................................................................................ 5
  25
       Howey v. Radio Corp. of Am.,
  26     481 F.2d 1187 (9th Cir. 1973) .............................................................................. 5
  27
       Keith v. Volpe,
  28      858 F.2d 467 (9th Cir. 1988) ................................................................................ 6

                                   v
          NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES                  Document 193              Filed 12/08/23            Page 8 of 25 Page ID
                                                  #:6686


   1   Longhorn Vaccines & Diagnostics, LLC v. Spectrum Sols. LLC,
   2     2021 WL 4324508 (D. Utah Sept. 23, 2021) ............................................... 11, 12

   3   Lyon v. U.S. Immigr. & Customs Enf’t,
          308 F.R.D. 203 (N.D. Cal. 2015) ................................................................. 4, 5, 7
   4

   5   MyMedicalRecords, Inc. v. Jardogs, LLC,
         1 F. Supp. 3d 1020 (C.D. Cal. 2014) ............................................................ 11, 12
   6
       Northstar Fin. Advisors Inc. v. Schwab Invs.,
   7
         779 F.3d 1036 (9th Cir. 2015) ............................................................................ 13
   8
       Paralyzed Veterans of Am. v. McPherson,
   9     No. 06-cv-4670-SBA, 2008 WL 4183981 (N.D. Cal. Sept. 9, 2008) .................. 5
  10
       Sols. for Utils. Inc. v. Cal. Pub. Utils. Comm’n,
  11      2:11-cv-4975-JWH-JCG, 2022 WL 3575307 (C.D. Cal. July 5,
          2022) ..................................................................................................................... 6
  12

  13   Sywula v. Teleport Mobility, Inc.,
          No. 21-cv-1450-BAS-AGS, 2023 WL 362504 (S.D. Cal. Jan. 23,
  14      2023) ........................................................................................................... 6, 9, 13
  15
       Tas Energy, Inc. v. San Diego Gas & Elec. Co.,
  16      2013 WL 4500880 (S.D. Cal. Aug. 21, 2013).................................................... 10
  17   The Court’s November
  18     20 Order .............................................................................................................. 12
  19   Torchlight Techs. LLC v. Daimler AG,
  20
          No. 22-cv-751-GBW, DE 95 (D. Del. 2023 Feb. 2, 2023) ................................ 12

  21   Traxcell Techs. LLC v. Google LLC,
          No. 22-cv-4807-JSC, 2022 WL 17072015 (N.D. Cal. Nov. 17,
  22      2022) ................................................................................................................... 11
  23
       Other Authorities
  24
       Federal Rule of Civil Procedure 12 .................................................................. passim
  25

  26
       Federal Rule of Civil Procedure 15 .................................................................. passim

  27

  28

                                   vi
          NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES      Document 193      Filed 12/08/23   Page 9 of 25 Page ID
                                      #:6687


   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2    I.   INTRODUCTION
   3         Plaintiff Entropic Communications, LLC (“Entropic”) seeks leave to
   4   supplement its complaint against Defendants Comcast Corporation, Comcast Cable
   5   Communications, LLC, and Comcast Cable Communications Management, LLC
   6   (collectively, “Comcast”). Comcast previously moved to dismiss Entropic’s First
   7   Amended Complaint in its entirety under Rule 12(b)(1) and as to only willful
   8   infringement under Rule 12(b)(6). In opposition, Entropic requested, inter alia, leave
   9   to file a supplemental pleading based on conduct that occurred after the filing of the
  10   complaints. See 2:23-cv-1048, DE 96-1 at 17:7–18:22. In its Order granting
  11   Comcast’s motion as to willful infringement under Rule 12(b)(6) with leave to
  12   amend, the Court did not specifically grant or deny the request to supplement. See
  13   DE 175 at 2, 11, 12. Thus, Entropic is filing this motion out of an abundance of
  14   caution to the extent that supplementation did not fall within the scope of the Order.
  15         Good cause exists to grant Entropic leave to supplement its complaint because:
  16   (1) the Court has already granted Entropic leave to amend, and Entropic is complying
  17   with the deadline imposed by that Order; (2) Entropic is supplementing in furtherance
  18   of making further allegations to support willful infringement, as to which this Court
  19   has already granted Entropic leave to amend; (3) Comcast will not be unduly
  20   prejudiced because the burden on Comcast would be the same as if Entropic simply
  21   amended its complaint as instructed by the Court; and (4) supplementation would not
  22   be futile because Entropic seeks to add factual allegations to further support its claim
  23   that Comcast has willfully infringed the Patents-in-Suit.
  24         Thus, Entropic respectfully requests the Court grant its Motion.
  25   II.   FACTUAL AND PROCEDURAL BACKGROUND
  26         Entropic filed its original complaint against Comcast on February 10, 2023,
  27   asserting infringement of U.S. Patent Nos. 7,295,518 (the “’518 Patent”), 7,594,249
  28   (the “’249 Patent”) (together the “Network Patents”); U.S. Patent Nos. 7,889,759 (the

                                  1
         NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES      Document 193 Filed 12/08/23        Page 10 of 25 Page
                                    ID #:6688


  1   “’759 Patent”), 8,085,802 (the “’802 Patent”) (together the “Node Admission
  2   Patents”); U.S. Patent Nos. 9,838,213 (the “’213 Patent”), 10,432,422 (the “’422
  3   Patent”) (together the “PQoS Flows Patents”); U.S. Patent Nos. 8,631,450 (the “’450
  4   Patent”), 8,621,539 (the “’539 Patent”) (together the “Link Maintenance Patents”);
  5   U.S. Patent No. 8,320,566 (the “’0,566 Patent” or the “OFDMA Patent”); U.S. Patent
  6   No. 10,257,566 (the “’7,566 Patent” or the “Network Coordinator Patent”); U.S.
  7   Patent No. 8,228,910 (the “’910 Patent” or the “Packet Aggregation Patent”); U.S.
  8   Patent No. 8,363,681 (the “’681 Patent” or the “Clock Sync Patent”) (collectively,
  9   the “Patents-in-Suit”). See 2:23-cv-1048 (“1048”), DE 1. Comcast responded by
 10   filing motions to dismiss the complaint pursuant to Federal Rule of Civil Procedure
 11   12(b)(1) and (6). 1048 DE 54-1, 51.
 12         On June 5, 2023, Entropic filed a first amended complaint as a matter of right,
 13   consistent with Rule 15(a)(1)(B). See 1048 DE 69-1. Comcast again responded by
 14   filing a motion to dismiss. See 1048 DE 82-1. Specifically, Comcast moved to
 15   dismiss this case under Rule 12(b)(1) for lack of subject matter jurisdiction. Id.
 16   Comcast moved under Rule 12(b)(6) solely to dismiss Entropic’s allegations of
 17   willful infringement. Id. Comcast did not move to dismiss Entropic’s claims for non-
 18   willful patent infringement for failure to state a claim under Rule 12(b)(6). Id. In its
 19   Motion, Comcast argued that a Vendor Support Agreement (“VSA”) that Comcast
 20   Cable Communications LLC entered into with a third party—MaxLinear Inc.—
 21   contained a covenant not to sue that deprived this Court of subject matter jurisdiction
 22   over Entropic’s claims against Comcast. Id. at 2:8–17. Comcast also argued that
 23   Entropic failed to plausibly allege that Comcast willfully infringed Entropic’s patents
 24   and, thus, its claims for willful infringement should be dismissed for failure to state
 25   a claim. Id. at 2:18–24. Again, Comcast did not move to dismiss Entropic’s claims
 26   for non-willful infringement under Rule 12(b)(6).
 27         In Opposition, Entropic made several arguments, including that neither the
 28   VSA nor its alleged covenant not to sue applied to Entropic, who was neither party

                                 2
        NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES      Document 193 Filed 12/08/23        Page 11 of 25 Page
                                    ID #:6689


  1   to, nor an assignee of, the VSA. See 1048 DE 96-1 at 16:10–17:6. Entropic also
  2   argued that, to the extent the Court was inclined to grant any aspect of Comcast’s
  3   motion, it should be given leave to file a supplemental pleading to include allegations
  4   to support its claims based on conduct that occurred after it filed the complaints. See
  5   id. at 17, 18. At the hearing on the Motion, Entropic raised binding authority that is
  6   dispositive of Comcast’s Motion because under that authority Comcast’s argument
  7   is a defense and not a basis for lack of subject matter jurisdiction. Young Decl. Ex.
  8   B at 74:16–75:24. The parties then submitted supplemental briefing on that authority
  9   and related arguments. 1 See 1048 DE 126, 129.
 10         On November 20, 2023, the Court granted Comcast’s Motion to Dismiss as to
 11   willful infringement under Rule 12(b)(6). See DE 175. The Court granted Entropic
 12   leave to amend. See id. at 2, 12. The Court’s Order directed Entropic to file its second
 13   amended complaint by December 8, 2023. Id. at 12.
 14         Entropic’s Second Amended Complaint includes factual allegations in further
 15   support of its assertion of willful infringement. Because the Order is unclear as to
 16   whether the Court’s grant of leave to amend also included leave to supplement, and
 17   because Entropic’s Second Amended Complaint includes pre- and post-filing
 18   conduct and notes the concurrent filing of this Motion, Entropic moves, in an
 19   abundance of caution, to obtain leave to supplement to the extent it was not
 20   contemplated by the grant of leave to amend in the Order. Entropic has given
 21   Comcast plenty of notice of its intent to include post-filing conduct in its Second
 22   Amended Complaint, including during the hearings before the Special Master on
 23   November 10, 2023, and December 1, 2023. Young Decl., Ex. C at 13:13–24; Ex. D
 24   at 22:5–12 (“[I]t will come as no surprise because I raised this during the prior
 25   discovery dispute hear that one of the grounds for willfulness, which is on a patent-
 26   by-patent basis, is the original filing of the complaint which relevant case law says is
 27
      1
       The case between Entropic and Comcast was subsequently consolidated with
 28   Entropic Communications, LLC v. Dish Network Corp. et al, 2:23-cv-1043. See DE
      129.
                                           3
        NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES      Document 193 Filed 12/08/23        Page 12 of 25 Page
                                    ID #:6690


  1   sufficient to support allegations of willfulness.”). The post-filing conduct is also
  2   included in the proposed supplemental pleading attached to the concurrently-filed
  3   Young Declaration. See Young Decl. Ex. A.
  4          Entropic’s allegations based on post-filing conduct include the specific notice,
  5   on a patent-by-patent basis, that Comcast received of its infringement in the original
  6   Complaint and accompanying exhibits (including detailed charts), the First Amended
  7   Complaint and accompanying exhibits (including detailed charts), and Entropic’s
  8   infringement contentions. Id. The SAC and supplemental pleading allege that despite
  9   this notice and knowledge of its infringement, Comcast continued to infringe and
 10   such infringement has continued up through the present. See 1049 DE 189; Young
 11   Decl. Ex. A at ¶ 1, 19–20. The SAC and supplemental pleading further allege that
 12   Comcast sought indemnification from its third-party vendors, confirming Comcast’s
 13   awareness of the infringement. See 1049 DE 189; Young Decl. Ex. A at ¶ 7–8. The
 14   SAC and supplemental pleading also make the factual allegation that MaxLinear
 15   terminated the VSA by way of letter, which occurred after the filing of the original
 16   Complaint, and that the VSA is no longer in effect. See 1049 DE 189; Young Decl.
 17   Ex. A at ¶ 3, 25–27. Entropic also includes allegations about counterclaims filed by
 18   MaxLinear against Comcast for misappropriation of trade secrets, which pre-date the
 19   filing of this action, which establish that a condition precedent to the covenant’s
 20   existence was not met and, even if it were, Comcast breached the VSA before
 21   MaxLinear’s termination of that agreement. See 1049 DE 189; Young Decl. Ex. A at
 22   ¶ 21–24.
 23   III.   LEGAL STANDARD
 24          “Supplemental pleadings are governed by Rule 15(d).” Lyon v. U.S. Immigr.
 25   & Customs Enf’t, 308 F.R.D. 203, 214 (N.D. Cal. 2015). The plain text of the rule
 26   allows a court to “permit a party to serve a supplemental pleading setting out any
 27   transaction, occurrence, or event that happened after the date of the pleading to be
 28   supplemented.” FED. R. CIV. P. 15(d). The rule further clarifies that “[t]he court may

                                 4
        NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES      Document 193 Filed 12/08/23       Page 13 of 25 Page
                                    ID #:6691


  1   permit supplementation even though the original pleading is defective in stating a
  2   claim or defense.” Id.
  3         “The legal standard for granting or denying a motion to supplement under Rule
  4   15(d) is the same as for amending one under 15(a).” Paralyzed Veterans of Am. v.
  5   McPherson, No. 06-cv-4670-SBA, 2008 WL 4183981, at *26 (N.D. Cal. Sept. 9,
  6   2008). Rule 15(a) of the FEDERAL RULES OF CIVIL PROCEDURE instructs that “leave
  7   shall be freely granted when justice so requires.” “Supplementation is generally
  8   favored because it promotes judicial economy and convenience.” Lyon, 308 F.R.D.
  9   at 214 (citing Keith v. Volpe, 858 F.2d 467, 473 (9th Cir. 1988)).
 10         In determining whether to grant a motion for leave to amend (and thus also a
 11   motion to supplement), courts consider the following factors: (1) whether the movant
 12   unduly delayed in bringing the motion; (2) evidence of bad faith or dilatory motive
 13   on the part of the movant; (3) the movant’s repeated failure to cure deficiencies by
 14   previous amendments; (4) prejudice to the opposing party; and (5) futility of
 15   amendment. Lyon, 308 F.R.D. at 214.
 16         While a court should consider each of the five factors when conducting its
 17   analysis, the crucial factor is the resulting prejudice to the opposing party. Howey v.
 18   Radio Corp. of Am., 481 F.2d 1187, 1190 (9th Cir. 1973). “Absent prejudice, or a
 19   strong showing of any of the remaining . . . factors, there exists a presumption under
 20   Rule 15(a) in favor of granting leave to amend.” Eminence Cap., LLC v. Aspeon, Inc.,
 21   316 F.3d 1048, 1052 (9th Cir. 2003) (emphasis omitted); see also Griggs v. Pace Am.
 22   Grp., Inc., 170 F.3d 877, 880 (9th Cir. 1999) (stating that when a court conducts a
 23   Rule 15(a) analysis, generally all inferences should be drawn in favor of granting the
 24   motion). The same principle applies in the context of Rule 15(d)—leave should be
 25   “freely given” in the absence of an apparent reason to preclude a party from
 26   supplementing its pleading. Foman v. Davis, 371 U.S. 178, 182 (1962).
 27         A supplemental pleading under Rule 15(d)—as opposed to an amended
 28   pleading under Rule 15(a)—is required for “any transaction, occurrence, or event that

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        NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES        Document 193 Filed 12/08/23         Page 14 of 25 Page
                                      ID #:6692


  1   happened after the date of the pleading to be supplemented.” FED. R. CIV. P. 15(d).
  2   In the context of supplementing an amended complaint, the Ninth Circuit and this
  3   Court have clarified that “the pleading to be supplemented” actually refers to the
  4   original complaint. See Sols. for Utils. Inc. v. Cal. Pub. Utils. Comm’n, 2:11-cv-4975-
  5   JWH-JCG, 2022 WL 3575307, at *2 (C.D. Cal. July 5, 2022) (“that pleading refers
  6   to the original complaint”); see also Keith v. Volpe, 858 F.2d 467, 471 (9th Cir. 1988)
  7   (explaining that Rule 15(d) “is designed to permit expansion of the scope of existing
  8   litigation to include events that occur after the filing of the original complaint)
  9   (emphasis added). Therefore, the critical determination is whether the alleged
 10   incidents or events occurred after the case was filed. See Sols. for Utils., 2022 WL
 11   3575307 at *2 (“The issue is whether alleged incidents and events . . . occurred before
 12   the case was filed or thereafter. If the latter, then those facts must be alleged in a
 13   supplemental complaint under Rule 15(d)”).
 14          The Solutions for Utilities case is particularly instructive. In that case, plaintiff
 15   filed a seventh amended complaint and took the position that a supplemental pleading
 16   would be required only for events that transpired after the date of the seventh
 17   amended complaint, rather than the date of the initial complaint. See id. at *1. This
 18   Court rejected that argument, noting that Rule 15(d) would be superfluous if parties
 19   could simply amend their pleadings indefinitely under Rule 15(a) to add facts and
 20   claims arising after the litigation has commenced. Id. at *3. In another example,
 21   Sywula v. Teleport Mobility, Inc., the Court had previously dismissed plaintiff’s first
 22   amended complaint for lack of standing. 652 F.Supp.3d 1195, 1205 (S.D. Cal. 2023).
 23   Just as in this case, the dismissal order granted plaintiff leave to amend (id.), and
 24   similarly, plaintiff’s second amended complaint added factual allegations occurring
 25   during the pendency of the litigation. Id. at *1213. The Court ruled that these
 26   allegations required leave under Rule 15(d) “because they detail events that occurred
 27   after [plaintiff] instituted this action.” Id.
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                                 6
        NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES       Document 193 Filed 12/08/23         Page 15 of 25 Page
                                     ID #:6693


  1         Applying that reasoning to the case at hand (and assuming that leave to
  2   supplement was not already granted in the Court’s Order granting leave to amend),
  3   the allegations of post-filing conduct in Entropic’s Second Amended Complaint
  4   would be governed by Rule 15(d) because they relate to events occurring after the
  5   filing of this lawsuit. See also Lyon, 308 F.R.D. at 214 (“New claims, new parties,
  6   and allegations regarding events that occurred after the original complaint was filed
  7   are all properly permitted under Rule 15(d).”) (citing Griffin v. Cnty. Sch. Bd. of
  8   Prince Edward Cnty., 377 U.S. 218, 226 (1964); see also Cabrera v. City of
  9   Huntington Park, 159 F.3d 374, 382 (9th Cir. 1998) (“Rule 15(d) permits the filing
 10   of a supplemental pleading which introduces a cause of action not alleged in the
 11   original complaint and not in existence when the original complaint was filed”).
 12   IV.   ARGUMENT
 13         Assuming it has not already done so by virtue of its grant of leave to amend in
 14   its Order, the Court should grant Entropic leave to file a supplemental pleading based
 15   on post-suit conduct. Either these allegations are amendments under Rule 15(a) and
 16   are encompassed by the Court’s Order, or they are supplemental under Rule 15(d)
 17   and are encompassed by the instant Motion. There is no alternative, as that would
 18   allow a defendant to escape liability for conduct occurring after the filing of an initial
 19   complaint.
 20         To the extent the Court concludes that these allegations are amendments under
 21   Rule 15(a), then Entropic already has leave to include them as a result of the Court’s
 22   November 20 Order granting leave to amend. See DE 175. In that case, Entropic asks
 23   the Court to confirm that Entropic’s “leave to amend” means Entropic may include
 24   the post-suit allegations in its Second Amended Complaint.
 25         Alternatively, to the extent the Court concludes that these allegations are
 26   supplemental under Rule 15(d), good cause exists for the Court to grant Entropic
 27   leave to supplement, especially in view of this Court already having granted Entropic
 28   leave to amend.

                                 7
        NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES      Document 193 Filed 12/08/23       Page 16 of 25 Page
                                    ID #:6694


  1         A.     Good cause exists to allow Entropic to Supplement.
  2                1.     There has been no undue delay or bad faith on the part of
  3                       Entropic.
  4         Entropic’s supplemental pleading based on post-suit conduct is not the result
  5   of undue delay or bad faith. Indeed, Entropic is going out of its way to ensure that it
  6   obtains specific leave to include allegations based on post-suit conduct, to the extent
  7   it is not already covered by the Order granting leave to amend. Entropic requested
  8   this same leave months ago, in its Opposition to Comcast’s Motion to Dismiss. See
  9   1048 Case, DE 96-1 at 17:7–18:22. Thus, Comcast can hardly claim undue delay.
 10   Moreover, since that time, Entropic has repeatedly notified Comcast of its intent to
 11   rely on post-filing conduct (including the filing of the initial Complaint and
 12   Comcast’s continued infringement despite such knowledge) to support its allegations
 13   of willful infringement. See Young Decl. Ex. C at 13:13–24.
 14         Entropic did not delay in seeking leave to supplement its complaint. The Court
 15   granted Comcast’s motion to dismiss on November 20 and gave Entropic 18 days to
 16   file an amended complaint. See DE 175 at 12. This 18-day period included the
 17   Thanksgiving holiday. Entropic is filing this motion to supplement consistent with
 18   that deadline and even notified Comcast of its intent to do so well in advance of its
 19   filing. See Young Decl. Ex. E (email from Peter Soskin to Comcast counsel on Nov.
 20   27, 2023).
 21         Nor has Entropic acted in bad faith by moving to supplement. The Court
 22   granted Entropic leave to amend precisely so that Entropic could add allegations to
 23   support willful infringement. That is exactly what Entropic seeks to accomplish
 24   through supplementation, by showing that Comcast has willfully infringed and/or
 25   that the covenant-not-to-sue is no longer in effect.
 26         Even if there has been some undue delay on the part of Entropic (which there
 27   has not), undue delay alone “is insufficient to justify denying a motion to amend.”
 28   Bowles v. Reade, 198 F.3d 752, 758 (9th Cir. 1999). Regardless, Entropic has

                                 8
        NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES       Document 193 Filed 12/08/23      Page 17 of 25 Page
                                     ID #:6695


  1   exercised diligence in seeking leave to supplement. Therefore, this factor weighs in
  2   favor of granting leave.
  3                 2.   Entropic has not failed to cure deficiencies through “repeated
  4                      failure of previous amendments” or supplements.
  5         Entropic has amended its complaint against Comcast only once as a matter of
  6   right. Moreover, the Court has granted a motion to dismiss only once and it was
  7   granted on narrow grounds—Rule 12(b)(6) motion directed to willful infringement.
  8   Entropic is seeking to supplement at the same time as the amendment following the
  9   Court’s Order granting that motion. The Court has never expressly denied Entropic’s
 10   request for leave to supplement, so there are no repeated failures to cure deficiencies
 11   through supplementation. Thus, this factor weighs in favor of granting leave to
 12   supplement.
 13                 3.   Comcast would not be unduly prejudiced by allowing
 14                      supplementation.
 15         “The party opposing amendment bears the burden of showing prejudice.”
 16   DCD Programs, Ltd. v. Leighton, 833 F.2d 183, 187 (9th Cir. 1987). Comcast cannot
 17   meet that burden here.
 18         The critical fact here is that the Court has already granted Entropic leave to
 19   amend, as well as imposed a specific deadline for Entropic to do so, and the Second
 20   Amended Complaint and proposed supplemental pleading all relate to matters in the
 21   original and First Amended Complaint—namely, willfulness. Comcast would need
 22   to show some additional prejudice associated with supplementation, but there is none.
 23   Indeed, Entropic has included the post-filing allegations in the Second Amended
 24   Complaint filed on December 8 in order to allow Comcast ample time to analyze the
 25   allegations. Moreover, Comcast is of course aware of the post-suit allegations as they
 26   involve Comcast’s own conduct. Entropic has also repeatedly put Comcast on notice
 27   of its intent to rely on this post-filing conduct during discovery hearings before the
 28   Special Master. See Young Decl. Ex. C at 13:13–24; see also Sywula v. Teleport

                                 9
        NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES       Document 193 Filed 12/08/23          Page 18 of 25 Page
                                     ID #:6696


  1   Mobility, Inc., No. 21-cv-1450-BAS-AGS, 2023 WL 362504, at *10–11 (S.D. Cal.
  2   Jan. 23, 2023) (allowing supplementation under Rule 15(d) where the Court had
  3   already granted leave to amend and “the newly alleged material unquestionably
  4   relates to the matters set forth in the original complaint”).
  5         Add to that the fact that it is still early in the case, with the claim construction
  6   hearing set for September 2024 (see DE 97), and there is simply no suggestion that
  7   Comcast would be unduly prejudiced by the supplementation. See Glaukos Corp. v.
  8   Ivantis, Inc., 2019 WL 8348322, at *5 (C.D. Cal. May 20, 2019) (holding lack of
  9   prejudice where defendant received proposed amended contentions 75 days before
 10   the deadline for the joint claim construction chart and more than six months prior to
 11   fact discovery cutoff, and collecting cases where amendment was permitted much
 12   later); Aten Int’l Co., Ltd v. Emine Tech. Co., 2010 WL 1462110, at *4 (C.D. Cal.
 13   Apr. 12, 2010) (holding lack of prejudice where seven months remained until the
 14   discovery cut-off).
 15         In sum, the early stage of this litigation, along with this Court’s grant of leave
 16   to amend, tip this factor far in favor of permitting the supplemental pleading.
 17                4.       Supplementation would not be futile.
 18         “Courts ordinarily do not consider the validity of a proposed amended pleading
 19   in deciding whether to grant leave to amend and defer consideration of challenges to
 20   the merits of a proposed amendment until after leave to amend is granted and the
 21   amended pleadings are filed.” Tas Energy, Inc. v. San Diego Gas & Elec. Co., 2013
 22   WL 4500880, at *2 (S.D. Cal. Aug. 21, 2013) (citing Netbula, LLC v. Distinct Corp.,
 23   212 F.R.D. 534, 539 (N.D. Cal. 2003)). Regardless, Entropic’s proposed
 24   supplementation would not be futile.
 25         The post-filing allegations point to specific events that without doubt put
 26   Comcast on notice of the patents at issue in this case, the assertion that it was
 27   infringing those patents, and even specific claims and infringement contentions. See
 28   Young Decl. Ex. A. The Second Amended Complaint and supplemental pleading

                                 10
        NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES        Document 193 Filed 12/08/23     Page 19 of 25 Page
                                      ID #:6697


  1   also allege that, despite such knowledge, Comcast continued to infringe, which
  2   establishes willfulness. See 1049 DE 189; Young Decl. Ex. A at ¶ 1, 19–20. This is
  3   more than sufficient to support allegations of willful infringement at the pleading
  4   stage. See, e.g., MyMedicalRecords, Inc. v. Jardogs, LLC, 1 F. Supp. 3d 1020, 1026
  5   (C.D. Cal. 2014) (holding that plaintiff could base willful infringement on original
  6   complaint because “if a plaintiff like MMR is able to establish the defendant's
  7   knowledge of the alleged infringement based on a prior, though superseded,
  8   complaint, the defendant should not be able to escape liability for conduct occurring
  9   after the plaintiff files its complaint”).
 10          Although the Federal Circuit has not provided explicit guidance on this issue,
 11   the majority rule among District Courts is that a defendant’s post-suit knowledge of
 12   the patents (for purposes of willful infringement) can be based solely on the notice
 13   provided by service of the original complaint. See Traxcell Techs. LLC v. Google
 14   LLC, No. 22-cv-4807-JSC, 2022 WL 17072015, at *6, 8 (N.D. Cal. Nov. 17, 2022)
 15   (adopting majority rule and allowing plaintiff to plead post-suit willful inducement
 16   infringement based on notice provided by the original complaint); see also Fluidigm
 17   Corp. v. Ionpath, Inc., No. 19-cv-5639-WHA, 2020 WL 1433178, at *3 (N.D. Cal.
 18   Mar. 24, 2020) (amended complaint sufficiently pleaded post-suit willfulness where
 19   it alleged that the original complaint notified defendant of the infringement, and that
 20   the defendant continues to infringe); Billjco, LLC v. Apple Inc., 583 F. 3d 769, 778
 21   (W.D. Tex. 2022) (“Serving a complaint will, in most circumstances, notify the
 22   defendant of the asserted patent and the accused conduct. So long as the complaint
 23   also adequately alleges that the defendant is continuing its purportedly infringing
 24   conduct, it will satisfy all three Parity elements and sufficiently plead a post-
 25   filing/post-suit willful infringement claim”); Longhorn Vaccines & Diagnostics, LLC
 26   v. Spectrum Sols. LLC, 2021 WL 4324508, at *9-10 & nn. 95, 96 (D. Utah Sept. 23,
 27   2021) (recognizing split on this issue and finding that knowledge of patents gained
 28   from an original complaint is sufficient to establish post-filing indirect and willful

                                 11
        NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES      Document 193 Filed 12/08/23          Page 20 of 25 Page
                                    ID #:6698


  1   infringement claims); Torchlight Techs. LLC v. Daimler AG, No. 22-cv-751-GBW,
  2   DE 95, at 4–5 (D. Del. 2023 Feb. 2, 2023) (noting disagreement even within the
  3   District of Delaware, but ultimately granting leave to amend “to aver that Torchlight
  4   is making a claim for Defendants’ willful ongoing infringement predicated on the
  5   notice of infringement provided in the Original Complaint and the FAC”). 2
  6                   a. Entropic’s Willfulness Allegations and VSA Termination
  7                      Allegations     Enable    Entropic     to     Address   Comcast’s
  8                      Infringement.
  9         The Court’s November 20 Order held that any claim for willful infringement
 10   would fall under an exemption to the VSA’s covenant-not-to-sue, and the Court
 11   granted Entropic leave to amend under Rule 12(b)(6) so that Entropic could add
 12   factual allegations relating to willfulness. That is precisely what Entropic seeks to
 13   do; it just happens that certain allegations post-date the filing of the complaint. See
 14   e.g. Apple Inc. v. Samsung Elecs. Co., Ltd., 258 F. Sup. 3d 1013, 1027 (N.D. Cal.
 15   2017) (post-filing conduct alone can serve as the basis for a finding of willfulness);
 16   see also Fluidigm Corp., 2020 WL 1433178 at *3 (allowing plaintiff to plead post-
 17   suit willfulness based on defendant continuing to infringe after being served with the
 18   original complaint).
 19         Entropic further seeks to add allegations which would establish that the VSA
 20   was subsequently terminated and that the covenant-not-to-sue is no longer in effect.
 21

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       Although there are cases to the contrary, as noted in Longhorn and Torchlight, the
 23   majority rule is the better approach because “[h]olding otherwise would again give a
      defendant free rein to willfully infringe a patent of which it is now blatantly aware
 24   simply because a plaintiff chose not to move for a preliminary injunction.”
      MyMedicalRecords, 1 F. Supp. 3d at 1026. “Such a result would eviscerate the whole
 25   basis behind enhanced damages for willful infringement.” Id. Moreover, the
      alternative for a plaintiff would be to dismiss their own case and then refile the next
 26   day to allege willfulness based on the previous day’s complaint. Such an outcome
      would be inefficient and incompatible with the face and purpose of Rule 15(d). See
 27   generally Foman v. Davis, 371 U.S. 178, 181–82 (1962) (“The Federal Rules reject
      the approach that pleading is a game of skill in which one misstep by counsel may
 28   be decisive to the outcome and accept the principle that the purpose of pleading is to
      facilitate a proper decision on the merits”).
                                                 12
         NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES      Document 193 Filed 12/08/23         Page 21 of 25 Page
                                    ID #:6699


  1   With the VSA no longer in effect, Entropic’s ability to seek redress for Comcast’s
  2   infringement is not limited to willful infringement allegations.
  3                    b. Supplementation Can Cure Any Jurisdictional Defects in
  4                        Entropic’s Complaint.
  5         This Court’s Order did not appear to grant Comcast’ Rule 12(b)(1) Motion.
  6   Instead, it granted Comcast’s Rule 12(b)(6) Motion as to only willful infringement.
  7   That being said, to the extent Comcast makes some new argument about jurisdiction,
  8   a supplemental complaint can be used to correct jurisdictional defects that existed at
  9   the time of the original complaint. See Northstar Fin. Advisors Inc. v. Schwab Invs.,
 10   779 F.3d 1036, 1043–48 (9th Cir. 2015) (trial court did not abuse discretion in
 11   allowing plaintiff to cure lack-of-standing by filing a supplemental pleading). The
 12   Court in Northstar observed that Rule 15(d) “circumvents ‘the needless formality
 13   and expense of instituting a new action when events occurring after the original filing
 14   indicated a right to relief.’” Id. at 1044 (quoting Wright, Miller, & Kane, Federal
 15   Practice and Procedure: Civil 3d § 1505, pg. 273).
 16         Likewise, Sywula v. Teleport Mobility, Inc. is particularly instructive. In that
 17   case, the court had previously dismissed plaintiff’s first amended complaint for lack
 18   of standing. 2023 WL 362504 at *4. The dismissal order granted plaintiff leave to
 19   amend, but plaintiff went further by supplementing the new complaint with post-suit
 20   allegations. Id. at *4, 10. Not only did the Court retroactively grant plaintiff leave to
 21   supplement under Rule 15(d) (id. at *11), the Court concluded that the allegations in
 22   the new complaint were sufficient to confer Article III standing. See id. at *19; see
 23   also *26 (denying motion to dismiss under Rule 12(b)(1)). To the extent there
 24   remains some open question as to jurisdiction, the Court should grant leave to
 25   supplement like the court did in Sywula.
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                                 13
        NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES      Document 193 Filed 12/08/23       Page 22 of 25 Page
                                    ID #:6700


  1   V.    CONCLUSION
  2         For the foregoing reasons, this Court should grant Entropic leave to file a
  3   supplementation pleading or confirm that its prior Order granted such relief such that
  4   the post-filing conduct alleged in the Second Amended Complaint is appropriate.
  5

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                                 14
        NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES   Document 193 Filed 12/08/23    Page 23 of 25 Page
                                 ID #:6701


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        NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES     Document 193 Filed 12/08/23      Page 24 of 25 Page
                                   ID #:6702


  1                           CERTIFICATE OF COMPLIANCE
  2         The undersigned, counsel of record for Plaintiff Entropic Communications,
  3   LCC, certifies that this brief contains 4,451 words, which complies with the word
  4   limit of L.R. 11-6.1.
  5

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                                 16
        NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
Case 2:23-cv-01043-JWH-KES   Document 193 Filed 12/08/23    Page 25 of 25 Page
                                 ID #:6703


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        NOTICE OF MOTION AND MOTION FOR LEAVE TO SUPPLEMENT
